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The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 1, 2022
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

      In re:                                                §
                                                            §    Case No. 21-31488-sgj11V
      WATTSTOCK, LLC,                                       §
                                                            §    Chapter 11
               Debtor.                                      §    Subchapter V
                                                            §
                                                            §
      WATTSTOCK, LLC, Plaintiff,                            §    Adv. No. 21-3083
                                                            §
                     v.                                     §    Removed from the District Court
                                                            §    of Dallas County, Texas,
      ALTA POWER LLC, Defendant, Counter-Plaintiff,         §    116th Judicial District
      and  Third-Party Plaintiff,                           §
                                                            §    Cause No. DC-20-08331
                     v.                                     §
                                                            §
      WATTSTOCK, LLC, Counter-Defendant, and                §
                                                            §
      GENERAL ELECTRIC INTERNATIONAL, INC.,                 §
      d/b/a GE POWER SERVICES, Third-Party                  §
      Defendant.                                            §

        STIPULATED PROTOCOL REGARDING THE PRODUCTION OF DOCUMENTS
                  AND ELECTRONICALLY STORED INFORMATION
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         Alta Power LLC (“Alta”), the Defendant (and also a Counter-Plaintiff and Third-Party

Plaintiff), WattStock, LLC (“WattStock”), the Plaintiff (and also a Counter-Defendant), and

General Electric International, Inc. (“GE Power”), the Third-Party Defendant, (hereinafter,

collectively “Parties” or individually a “Party”) have agreed to the following Protocol for the

collection and production of documents in the above-captioned matter (the “Action”), including

electronically stored information (“ESI”).

         A.     General Principles

         1.     Nothing in the Protocol alters a Party’s rights, obligations, and responsibilities

under the Federal Rules of Civil Procedure and any other applicable orders and rules.

         2.     This Protocol does not establish any agreement as to either the appropriate temporal

or subject matter scope of discovery in the Action.

         3.     Nothing in this Protocol shall be interpreted to require disclosure of irrelevant

information or relevant information protected by the attorney-client privilege, work product

doctrine, or any other applicable privilege or immunity. Except as expressly provided herein, the

Parties do not waive any objections as to the production, discoverability, authenticity,

admissibility, or confidentiality of any particular documents or ESI.

         4.     The production of certain documents or ESI may require adherence to special

procedures under applicable laws. Nothing in this Protocol shall be interpreted to limit or excuse

such adherence where it is required, and the Parties will use all reasonable efforts to produce

documents and ESI in accordance both with this Protocol and with applicable laws.

         5.     This Protocol may be modified in the Court’s discretion or by agreement of the

Parties. If the Parties cannot resolve their disagreements regarding any modifications, either Party

may move the Court for an order modifying or clarifying the obligations of the Parties under this

Order.

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        6.     The Parties recognize that certain documents produced by both Parties may include

highly sensitive business information that is unrelated to the Parties’ claims and defenses in this

matter. The Parties agree to cooperate and meet and confer, to the extent requested by any Party,

to resolve any issues related to such documents and redactions thereto.

        7.     This Protocol may only apply to the Parties in this matter, though non-parties to

this Action are encouraged to adhere to them. The Parties agree to use reasonable efforts to ensure

that any production of ESI by a non-party complies with the terms of this Protocol.

        B.     Scope of Document Review and Production

        1.     The Parties acknowledge and agree that, to the extent they possess ESI that is

required to be produced pursuant to the Federal Rules of Civil Procedure, each Party shall be

responsible for identifying its own relevant materials and information, whether electronic or hard

copy.

        2.     Absent a showing of good cause, no Party need restore any form of media upon

which backup data is maintained in a Party’s normal or allowed processing, including but not

limited to backup tapes, disks, SAN, or other forms of media, to comply with its discovery

obligations in the present case.

        3.     The Parties agree that the following categories of ESI shall not require preservation,

retention or production, except that no Party shall delete data that it reasonably believes could

contain unique, relevant information to the instant matter: (a) “deleted,” “slack,” “fragmented,” or

“unallocated” data on hard drives; (b) random access memory (RAM) or other ephemeral data; (c)

on-line access data such as temporary internet files, history, cache, cookies, etc.; (d) data in

metadata fields that are frequently updated automatically, such as last-opened dates; (e) backup

data; (f) common system and program files; and (g) Network Access and Server Activity Logs.



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       4.      The Parties agree to cooperate and meet and confer, to the extent requested by either

Party, to identify (a) the proper custodial and noncustodial data sources for collection and review

and (b) additional parameters for scoping the review and production efforts (e.g., search terms,

date filters/ranges, de-NISTing, de-duping, etc.) to identify documents that are potentially relevant

to claims or defenses in this matter and are proportional to the needs of the case.

       5.      The Parties agree to negotiate regarding the custodians and data sources to be

searched for relevant ESI, and may utilize a phased approach focused initially on the most

accessible sources.

       6.      The Parties agree to negotiate the use of search terms, date filters or other culling

criteria that either Party may apply to collected data to focus the Parties’ review and production

efforts on documents and ESI that are relevant to the claims and defenses in this matter and

proportional to the needs of the case.

       7.      The Parties will make all reasonable efforts to ensure that any productions made

are free from viruses and malware. The Parties will take reasonable efforts to ensure that all

documents and ESI they produce are decrypted, although media on which the Parties produce

documents and ESI may be encrypted for security purposes provided that appropriate password

information is provided to all Parties to which such media are produced. Productions shall be

provided using industry standard encryption software or hardware. Any electronic transmission

of produced materials must be done via a secure file transfer system.

       8.      No receiving Party shall bear the costs and expenses associated with the producing

Party’s failure to comply with the ESI agreements contemplated herein, including without

limitation, the costs and expenses that may be associated with assembling, processing, reviewing,

and producing ESI.



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         C.    De-Duplication

         1.    A producing Party may de-duplicate electronic documents and is not obligated to

extract or produce entirely duplicate ESI.

         2.    Removal of duplicate documents shall only be done on duplicate documents based

on industry standard MD5 and/or SHA-1 hash values across custodians. However, family

relationships will be maintained and only exact email family groups will be de-duplicated. No

email attachment will be de-duplicated against a loose file. The producing Party will maintain and

produce references to all removed duplicate files upon a good faith request to do so by another

Party.

         3.    Global de-duplication across the entire collection will be employed.             This

eliminates duplicates to retain only one copy of each document per case. For example, if an

identical document resides with three custodians, only one copy will be included in the review set.

         4.    To the extent exact duplicate documents reside within a Party’s ESI data set, the

Party is only required to produce a single copy of a responsive document. The Parties shall

undertake reasonable efforts to de-duplicate stand-alone documents or entire document families in

their ESI across custodial and non-custodial data sources.

         5.    A producing Party may de-duplicate documents across custodians, provided that

the identity of other custodians of de-duplicated items must be listed in the “AllCustodian” field

(or its reasonable equivalent) of the copy of the single record that is produced. Entity/departmental

custodians and all other non-custodial sources shall be identified with a description of the entity

or department to the extent reasonably applicable. A producing Party shall use a uniform

description of a particular custodian across productions. Multiple custodians in the “AllCustodian”

field shall be separated by a semicolon. To the extent necessary, an overlay with updated

information must be provided promptly upon a Party’s good faith request for an overlay.

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       D.     Format of Productions

       1.     Timing. The Parties agree to make rolling productions on a good faith basis.

       2.     Footer. Each document image shall contain a footer in the lower right-hand corner

with a sequentially ascending Bates production number. Production images should be adjusted to

allow for placement of the production number without interfering with the content of the

document. Bates numbers must always: (l) be unique across the entire document production; (2)

maintain a constant length across the entire production; and (3) be sequential within a given

document and family.

       3.     Native Files.

              (a)      The parties shall produce in native format those spreadsheets (e.g., Excel,

                       Numbers, Sheets), audio files, video files, and other file types that cannot

                       be accurately represented in TIFF format. When produced in native format,

                       and as appropriate, such documents shall be redacted consistent with the

                       terms of this Protocol, with applicable metadata as specified in Exhibit A

                       and extracted searchable text. The parties at their option may elect to

                       perform native redactions. Presentation files (e.g., PowerPoint, Keynote,

                       Slides) shall be produced as color images in presentation or full slide view

                       and in JPEG format.

              (b)      To the extent a Party determines that it must apply redactions to a native file

                       and redactions cannot reasonably be applied to such file, a Party may

                       produce that document in TIFF format, with applicable metadata as

                       specified in Exhibit A and extracted searchable text. The Parties will confer

                       and agree upon the other types of files that are not easily converted to image

                       format, and will therefore be produced in native format. If production in

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                  native format is necessary to decipher the meaning, context, or content of a

                  document produced in TIFF, the producing Party will honor reasonable

                  requests made in good faith for the production of specific documents in their

                  native formats. To the extent native files are used as exhibits to court filings

                  or during depositions, hearings, trial, or other proceedings in this matter, the

                  Parties will meet and confer regarding protocols to ensure that such

                  documents bear the appropriate Bates identifiers and confidentiality

                  designations.

     4.    Color or Higher-Resolution Documents.

           (a)    Documents or ESI containing color that has meaning to the content of

                  document shall be produced in color. The production of documents and/or

                  ESI in color shall be made in TIFF or JPEG format that provides sufficient

                  quality for the review of these documents and/or ESI. All requirements for

                  productions stated in this Protocol regarding productions in TIFF format

                  apply to any productions of documents and/or ESI in color made in such an

                  alternate format.

           (b)    The Parties agree to make a good faith effort to comply with reasonable and

                  specific requests for the production of higher resolution or color images.

                  Nothing in this order shall preclude a producing Party from objecting to

                  such requests as unreasonable in number, timing or scope, provided that a

                  producing Party shall not object if the document as originally produced is

                  illegible or difficult to read. The producing Party shall have the option of

                  responding by producing a native-file version of the document. If a dispute



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                      arises with regard to requests for higher-resolution or color images, the

                      Parties will meet and confer in good faith to try to resolve it.

       5.      Electronic Production of Hard Copy Documents. To the extent they exist and must

be produced, the Parties agree to the following:

               (a)    The Parties agree that documents existing in hard copy form should be

                      produced size-for-size, color-for-color, in single-page Group IV, 300-dpi

                      TIFF format and accompanied by a Concordance DAT data load file and a

                      Concordance Image Viewer OPT image load file. Each TIFF file will be

                      given a unique file name that matches the Bates number label on the

                      corresponding page.

               (b)    The Parties agree that each Party shall be responsible for reviewing and

                      identifying unique, hard copy information and scanning or otherwise

                      reproducing it into a database format from which it shall be produced to the

                      other Parties. Wherever possible, the Parties shall avoid producing large

                      quantities of information on hard copy documents if such information is

                      more readily available electronically and kept as ESI in the normal course

                      of business.

               (c)    In scanning hard copy documents, distinct documents shall not be merged

                      into a single record, and single documents shall not be split into multiple

                      records (i.e., paper documents should be physically unitized). The Parties

                      will undertake reasonable efforts to unitize documents correctly, as the

                      documents are kept in the usual course of business. For example, images




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                  of binder and/or folder covers should be preserved and produced with the

                  contents of such binder and/or folder.

           (d)    Text of hard copy documents shall be extracted using industry-standard

                  optical character recognition (“OCR”) technology. Text files shall not

                  contain the redacted portions of the documents. The full OCR text should

                  be included and produced at a document level and located in the same folder

                  as their respective document image or OCR/TEXT folder.

           (e)    Wherever a hard copy file contains additional relevant information (for

                  example, handwritten notes or a title/other information on the cover of a

                  binder or folder), the producing Party shall produce a scanned version of

                  such file(s), and to the extent known, identify the custodian or source of the

                  information.

           (f)    The Parties will utilize reasonable efforts to ensure that hard copy records

                  for a particular custodian, where included in a single production, are

                  produced in consecutive Bates stamp order.

           (g)    The Parties agree that this order governs only the format of electronic

                  production of documents, and does not preclude a request for the production

                  of documents by inspection of hard copy documents as they are kept in the

                  usual course of business.

     6.    Production of ESI.

           (a)    The Parties agree that, except as provided herein, ESI shall be produced in

                  single-page Group IV TIFF, 300-dpi format, black and white, and

                  accompanied by a Concordance DAT data load file and a Concordance



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                  Image Viewer OPT image load file. Each TIFF file shall be given a unique

                  file name that matches the Bates number label on the corresponding page.

            (b)   Documents with hidden content, track changes, comments, hidden slides,

                  speaker notes, or any other content that can be toggled “on” or “off”, shall

                  be processed with all content unhidden and any notes displayed on the TIFF

                  image. The Parties will produce the specific content of embedded objects

                  or other embedded user-generated information that appear on the face of the

                  documents produced, but are not required to produce the separate,

                  underlying files or databases from which the embedded objects were

                  extracted.

            (c)   The Parties agree to produce complete families of documents. To the extent

                  a document is determined to be responsive, non-privileged family members

                  of that document shall also be produced. Parent-child relationships (the

                  association between an attachment and its parent document) should be

                  preserved.   For example, if a Party is producing an e-mail with its

                  attachments, the attachments shall be processed in order behind the e-mail

                  and shall contain the appropriate parent/child relationship fields as shown

                  on Exhibit A.

            (d)   The Parties agree that certain fields of metadata shall be preserved,

                  collected, and produced as noted below.

            (e)   The producing Party will provide extracted full text (i.e., text extracted from

                  ESI), where available, for all material originating as ESI. The extracted text




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                   from electronic documents shall be provided in a metadata text field

                   encoded in UTF-8.

            (f)    If a production contains documents in native format, an associated

                   placeholder for images should be included for the native documents. The

                   placeholder image should include the confidentiality designation as well as

                   the production number for the file. The relative path to the native file should

                   be included in the delimited text file and the produced files should be

                   organized in a “NATIVES” folder in the production media.

            (g)    ESI productions may be processed to remove any non-user created file types

                   and/or system files, to the extent they contain no relevant information to the

                   instant matter.

            (h)    Upon a reasonable and good faith request by the receiving Party, for any

                   ESI that exists in encrypted format or is password protected, the producing

                   Party will make reasonable efforts to provide the receiving Party a means

                   to gain access to those native files (for example, by supplying passwords

                   where known).

      7.    Data Load File.

            (a)    A data load file shall be provided with each production of ESI or hard copy

                   documents.

            (b)    The data load file shall be a Concordance-loadable data file (DAT file) and

                   shall contain Bates-stamp and metadata information as detailed below.

            (c)    The delimiters and qualifiers to be used in the DAT file are:

                   Record delimiter: Windows newline/Hard return (ASCII 10 followed by
                   ASCII 13)


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                       Field delimiter: (ASCII 20)
                       Multi-value delimiter: Semicolon ; (ASCII 59)
                       Text qualifier: Small thorn þ (ASCII 254)

               (d)     With respect to DAT files, the specifications herein address ANSI text-

                       based productions. Unicode text-based productions shall be provided for

                       productions containing non-English language documents.

               (e)     The DAT file shall include metadata information as discussed below.

       8.      Image Load File.

               (a)     A single-page image load file shall be provided with each production of ESI

                       or hard copy documents.

               (b)     The image load file shall use the Concordance Image Viewer (OPT) format,

                       as in the sample below. Note, the volume label information (“MSC001” in

                       sample OPT file) is optional:

                       Sample Concordance Image Viewer .OPT file:

                       MSC000001,MSC001,MSC\0000\00000001.TIF,Y,,,3
                       MSC000002,MSC001,MSC\0000\00000002.TIF,,,,
                       MSC000003,MSC001,MSC\0000\00000003.TIF,,,,
                       MSC000004,MSC001,MSC\0000\00000004.TIF,Y,,,2
                       MSC000005,MSC001,MSC\0000\00000005.TIF,,,,

       9.      Time Zone. The Parties agree to process documents using the US Eastern Standard

Time Zone.

       10.     Metadata. Metadata information should be produced in the Concordance DAT file

format for ESI as set forth in Exhibit A and for hard copy documents as set forth in Section D.10.b.

Each of the metadata and coding fields set forth below, to the extent that they are available for

extraction, shall be extracted and produced for that document.

               (a)     The Parties are not obligated to populate manually any of the metadata

                       fields set forth in Exhibit A if such fields cannot be reasonably extracted

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                   from a document, with the exception of the following fields for all ESI: (a)

                   ProdBegBates, (b) ProdEndBates, (c) ProdBegAttach, (d) ProdEndAttach,

                   (e) Custodian, (f) NativeFile (if applicable), (g) confidentiality, (h) ECI, and

                   (i) TextPath fields, which should be populated by the Party or the Party’s

                   vendor regardless of whether the fields can be populated pursuant to an

                   automated process.     The Parties agree to assume their own costs for

                   manually populating or “objectively coding” the above-referenced fields

                   wherever the information is not available in an automated fashion. For a

                   document that is being produced with redaction, fielded data subject to

                   redaction (for example, for privilege or non-relevance) may also be

                   redacted.

            (b)    For productions of hard copy documents, the following production fields

                   shall be produced in the accompanying data load file: (a) ProdBegBates,

                   (b) ProdEndBates, (c) ProdBegAttach, (d) ProdEndAttach, (e) Custodian,

                   (f) TextPath, (g) confidentiality, (h) export controlled, and (i) the discovery

                   request number(s) to which each file or group of files is responsive.

            (c)    Upon a reasonable and good faith request by the receiving Party, the

                   producing Party shall provide an explanation when it is unable to produce

                   metadata for a particular field.

            (d)    The Parties reserve the right to request additional metadata fields should the

                   Party show good cause for the necessity of such additional metadata.

      11.   Confidentiality.




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            (a)   The Parties have entered into a Protective and Confidentiality Order, dated

                  February 21, 2022.      Documents designated “CONFIDENTIAL” or

                  “CONFIDENTIAL ATTORNEYS EYES ONLY”; pursuant to the

                  Protective and Confidentiality Order shall be branded on each page with

                  their confidentiality designation in the lower left-hand corner of the

                  document without obscuring any document text. Each document produced

                  in native format will have its confidentiality designation reflected on the

                  endorsement on the bottom left-hand corner of the corresponding TIFF

                  image placeholder slipsheet.     Documents designated “RESTRICTED

                  ACCESS / EXPORT CONTROLLED INFORMATION” shall be branded

                  on each page with their confidentiality designation in the lower center of

                  each page.    Each document designated “RESTRICTED ACCESS /

                  EXPORT CONTROLLED INFORMATION” that is produced in native

                  format will have such designation reflected on the endorsement on the lower

                  center portion of the corresponding TIFF image placeholder slipsheet.

            (b)   Documents designated “CONFIDENTIAL ATTORNEYS EYES ONLY”

                  shall be produced in segregated productions together with other documents

                  bearing the same designation, shall be clearly marked as such in the

                  production volume name or accompanying cover letter, and shall not be

                  produced in commingled productions to the extent permissible with a

                  Party’s compliance with Section 11(c) of the ESI Protocol concerning the

                  segregated production of documents designated “RESTRICTED ACCESS

                  / EXPORT CONTROLLED INFORMATION.”



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              (c)    Documents      designated       “RESTRICTED      ACCESS       /    EXPORT

                     CONTROLLED INFORMATION” shall be produced in segregated

                     productions together with other documents bearing the same designation

                     and shall be clearly marked as such in the production volume name or

                     accompanying cover letter.        In all cases of segregated productions,

                     “RESTRICTED ACCESS / EXPORT CONTROLLED INFORMATION”

                     shall take precedence over any other segregated categories. As such, one or

                     more documents within a family designated “RESTRICTED ACCESS /

                     EXPORT CONTROLLED INFORMATION” shall render the entire family

                     to be produced in the segregated production for documents designated

                     “RESTRICTED ACCESS / EXPORT CONTROLLED INFORMATION”,

                     even though there are other documents within families or this segregated

                     production bearing different designations.      Any repository containing

                     documents     designated        “RESTRICTED      ACCESS       /    EXPORT

                     CONTROLLED INFORMATION” shall be secured and restricted against

                     access by any persons not authorized to view the information contained

                     therein, including persons who manage the database software. Repositories

                     containing documents designated “RESTRICTED ACCESS / EXPORT

                     CONTROLLED INFORMATION” shall comply with all applicable laws

                     and regulations, including but not limited to regulations restricting the use

                     of cloud-based storage.

       12.    Text-Searchable Documents. Document-level extracted text or OCR for documents

without extracted text will be provided by the producing Party for every record, including for



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scanned hard copy documents as described above. The full text file name will be composed of the

Bates number of the associated document, with a .txt file extension. If a document is provided in

native format with a single-page placeholder TIFF image (e.g., spreadsheet files), the text file shall

contain the full extracted text of the native file. When a Party is unable to produce extracted full

text, it will provide an explanation of that inability upon reasonable request by the other Party.

Documents for which extracted text is not available shall be produced with a text file generated

utilizing Optical Character Recognition (OCR) software. Extracted text will not be provided for

electronic documents that have been redacted because the extracted text would reveal the redacted

information. Instead, these files will be OCRed after the redaction is applied to capture the visible

text and those results will be provided in lieu of the original extracted text.

       13.     Non-Standard Data. To the extent any Party identifies relevant discovery data that

may not be exported into a standard litigation format as described above, the Parties agree to meet

and confer within a reasonable amount of time after such data is identified.

       14.     Production Media and Protocol. A producing Party may provide documents via

encrypted file, with the transfer format of the production at the discretion of the producing Party,

based on size of the deliverable. Documents designated “RESTRICTED ACCESS / EXPORT

CONTROLLED INFORMATION” shall be transmitted in accordance with the governing laws

and regulations regarding the treatment of such materials.

       15.     System Files. Initial culling of documents by file type may be performed by any of

the following methods: (i) ESI productions may be de-NISTed using the industry standard list of

such files maintained in the National Software Reference Library by the National Institute of

Standards & Technology; (ii) a Party may remove system files from its production; and/or (iii) a

Party may remove non-user created files generated in the background on a user device. No Party



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shall remove any file or file type that it reasonably believes could contain unique, relevant

information to the instant matter.

       E.      Privileged or Work Product Information

       1.      With respect to privileged or attorney work product information generated after the

filing of the complaint, Parties are not required to include any such information in privilege logs.

       2.      Activities undertaken in compliance with the duty to preserve information are

protected from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B).

       3.      The Parties agree to confer regarding other categories of information that may be

excluded from logging requirements.

       4.      Any other responsive documents withheld or partially withheld from a Party’s

production on the basis of privilege or work product shall be described on a privilege log, produced

in Excel format, which includes the date of the document, author, recipient(s) and a short

description of the document and indicates the basis for withholding the document from production.

       5.      No later than 45 days after a production is delivered to the receiving Party, the

producing party shall provide a privilege log describing the documents withheld from the

corresponding production. To the extent any Party produces a privilege log on or around the close

of fact discovery, the receiving Party shall have a reasonable amount of time (including time after

the close of fact discovery) to challenge the inadequacy of the privilege log and/or the producing

Party’s claim(s) of privilege contained therein. To the extent the Parties disagree on the adequacy

of a privilege log, the Parties shall meet and confer and use all reasonable methods to resolve the

dispute before raising with the Court.

       6.      The Parties reserve the right to request additional information regarding individual

documents on the privilege log.



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       7.      The production of any information claimed to be subject to the attorney-client

privilege, the work-product doctrine, or any other protection from disclosure is not a waiver of that

privilege or protection and the Parties agree there is no need to demonstrate that the disclosure was

inadvertent or that reasonable steps were taken to prevent such disclosure. If, during the course of

this matter, a Party produces a document or any other piece of information the Party claims is

privileged or protected, that Party may give notice to the other Party in writing, and the Parties

agree that the document or information will be returned or destroyed, and all copies, notes,

quotations or summaries thereof will be destroyed, within five (5) days. This paragraph shall be

interpreted to provide the maximum protection allowed by Federal Rule of Evidence 502(d).

       F.      Best Efforts Compliance

       1.      The Parties agree to use reasonable efforts to comply with and resolve any

differences concerning compliance with any provision(s) of this Protocol. If a producing Party

cannot comply with any aspect of the Protocol, such Party shall inform the requesting Party in

writing that compliance with the Protocol is unreasonable or not possible. No Party may seek

relief from the Court concerning compliance with the agreement until it has met and conferred

with the other Party in a good faith effort to resolve or narrow the area of disagreement.

                                     # # # End of Order # # #




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AGREED AS TO FORM:

/s/ Thomas Berghman                            /s/ Eric T. Haitz
Davor Rukavina, Esq.                           Eric T. Haitz (Texas Bar No. 24101851)
Texas Bar No. 24030781                         GIBSON, DUNN & CRUTCHER LLP
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